           Case 1:15-cr-00288-DAD-SKO Document 458 Filed 12/06/19 Page 1 of 1

 1

 2

 3

 4

 5

 6

 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00288 LJO SKO

12                                Plaintiff,             ORDER GRANTING GOVERNMENT’S EX
                                                         PARTE REQUEST FOR VOICE EXEMPLAR
13                          v.

14   JORGE ROBERTO ARREOLA-SERRATO,

15                                Defendant.

16

17          The UNITED STATES OF AMERICA, by and through McGREGOR W. SCOTT, United States

18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorney, having moved this court

19 for an order compelling the defendant to provide a voice exemplar for use at the trial of this case to

20 compare to recorded telephone conversations intercepted, and good cause appearing therefore,

21          IT HEREBY ORDERED that the defendant shall provide voice exemplar to government agents

22 during the week of December 9, 2019.

23
     IT IS SO ORDERED.
24

25      Dated:     December 6, 2019                          /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
26
27

28

       ORDER GRANTING GOVERNMENT’S REQUEST FOR
30
       VOICE EXEMPLAR                                    1
